                Case 23-50453-JTD             Doc 10-1        Filed 12/07/23        Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                    )
In Re:                              )
                                    )                         Chapter 11
WARDMAN HOTEL OWNER, L.L.C.,1 )
                                    )                         Case No. 21-10023 (JTD)
            Debtor.                 )
____________________________________)
                                    )
WARDMAN HOTEL OWNER, L.L.C.,        )
                                    )
            Plaintiff,              )
                                    )
            v.                      )                         Adv. Proc. No. 23-50453 (JTD)
                                    )
DISTRICT OF COLUMBIA,               )
                                    )
            Defendant.              )
____________________________________)


                                                    ORDER

         Upon consideration of Defendant District of Columbia’s Motion for Extension of Time to

Respond to Plaintiff’s Pre-Answer Motion for Summary Judgment, and any opposition thereto,

and good causing having been shown, it is this ____ day of December, 2023:

         ORDERED that Defendant District of Columbia’s Motion for Extension of Time be and

hereby is GRANTED;


         1
          The last four digits of Debtor’s U.S. tax identification number are 9717. Debtor’s mailing address is 5996
Mitchell Road, #16, Atlanta, GA 30328.
              Case 23-50453-JTD    Doc 10-1    Filed 12/07/23   Page 2 of 2




       ORDERED that deadline for Defendant District of Columbia to respond to the pending

motion for summary judgment be and hereby is EXTENDED up to and including January 10,

2024; and it is

       SO ORDERED.


Copies sent electronically to:
All counsel of record.
